Case 1:20-mc-00257-LPS Document 38-4 Filed 04/16/21 Page 1 of 8 PageID #: 1567




               Exhibit 4
Case 1:20-mc-00257-LPS Document 38-4 Filed 04/16/21 Page 2 of 8 PageID #: 1568
Luis Pacheco: “If we had not sued, the bondholders would have had a party and taken Citgo” – Embassy of
Venezuela in the USA




EMBASSY OF BOLIVARIAN REPUBLIC OF VENEZUELA | UNITED STATES OF
AMERICA

[image]

17 NOV LUIS PACHECO “IF WE HAD NOT SUED, THE BONDHOLDERS
WOULD HAVE HAD A PARTY AND TAKEN CITGO”

Though there are opinions out there regarding the lawsuit on PDVSA 2020 bonds, for Luis Pacheco,
who is still awaiting his replacement as President of the ad hoc management board of Petróleos de
Venezuela, S.A., a negotiation with creditors was always attempted. Nevertheless, the lack of
flexibility of bondholders led them to the path of legal action. Even though there is an opening to
seek agreements, there are conditions imposed by the Legislative power that must be respected.

By Alejandro Hernández, La Gran Aldea: https://lagranaldea.com/2020/11/16/si-no-hubiesemos-
demandado-los-bonistashabrian-hecho-una-fiesta-y-tomado-citgo/#

His broad trajectory through the oil industry is what recommends Luis Pacheco, therefore many
applauded his appointment as President of the of the ad hoc management board of Petróleos de
Venezuela, S.A. (PDVSA) and then lamented that he submitted his resignation of this position. From
his perspective, he guarantees that if, on October 27, 2019, he had not sued in the case of the PDVSA
2020 bonds, the holders of those papers “would have had a party and taken control of Citgo.” He
holds that a direct negotiation was attempted with the bondholders, but it became evident that they
would not […]




https://us.embajadavenezuela.org/noticias/luis-pacheco-si-no-hubiesemos-demandado-los-bonistas-habrian-hecho-
una-fiesta-y-tomado-citgo/ [04/15/2021 7:11:58 p.m.]
Case 1:20-mc-00257-LPS Document 38-4 Filed 04/16/21 Page 3 of 8 PageID #: 1569
Luis Pacheco: “If we had not sued, the bondholders would have had a party and taken Citgo” – Embassy of
Venezuela in the USA

accept an alternative other than amortization within the terms established. He states that Citgo is
over-indebted and its financial structure does not allow it to take on more debt. He also comments
that the worst is that many times the attacks the ad hoc board gets “come from friendly fire; and this,
though he expects history to address, is very frustrating.”

“Are you still President of the ad hoc management board of PDVSA?”

“I have been waiting since June for the National Assembly to decide on my replacement.”

“Why did you resign?”

“It’s time for a change in command, and I need space to take care of personal matters.”

“And who is your interlocutor in the interim government?”

“The Government Center and the Energy and Oil Commission of the National Assembly.”

“How do you read the recent pronouncement by the New York court regarding the PDVSA
2020 bond lawsuit?”

“The sentence has not been issued, what happened was an opinion by the judge on the case, but as
such our attorneys think that this opinion, while it is negative for us, has enough facets to justify a
successful appeal.”

“How will this appeal process go?”

“Right now, what comes next is that the judge will give the defendants an opportunity to propose a
draft sentence, so that we can counter it; and based on these two documents, redact the sentence.
After the Court’s decision, if the decision is not in favor of the Republic, we have 30 days to submit
an appeal.”

“The decision to appeal if the judgment is against the Republic, has it already been made?”

“Yes, it will be done, because it’s the right thing and it’s appropriate.”

“After this opinion issued by judge Katherine Polk, some voices have insisted more strongly
that the strategy with bondholders should have been to negotiate and not go to court. What is
your opinion today?”

“Of course I don’t agree with that, in a world of laws, courts exist so one can defend their rights, and
PDVSA’s obligation was to support what the National Assembly, the only legitimately elected body




https://us.embajadavenezuela.org/noticias/luis-pacheco-si-no-hubiesemos-demandado-los-bonistas-habrian-hecho-
una-fiesta-y-tomado-citgo/ [04/15/2021 7:11:58 p.m.]
Case 1:20-mc-00257-LPS Document 38-4 Filed 04/16/21 Page 4 of 8 PageID #: 1570
Luis Pacheco: “If we had not sued, the bondholders would have had a party and taken Citgo” – Embassy of
Venezuela in the USA

in Venezuela, determined; and that is that the PDVSA 2020 bond operation is illegal because it
included Citgo as collateral without the approval of Parliament. On the other hand, from the first
day our attorneys have been in contact with the creditors or their representatives to seek an
agreement, but they have been inflexible or have not received these openings with sufficient
generosity, and that’s why we had to go the litigation route, which would not have been necessary if
on the other hand they had been willing to negotiate. Nevertheless, even during the trial,
conversations have continued with the bondholders and their attorneys, but sadly they have not
agreed to sit under terms that recognize the conditions which the Legislative Power has imposed.”

“What are those conditions?”

“Our intention has always been to achieve a negotiation with the creditors that acknowledges three
factors; one, that the operation was declared invalid by resolution of the National Assembly; two,
that the market price of this debt, at the time of this lawsuit, was around 20%, and is now around
50%; and three, is that the humanitarian crisis of Venezuela should be recognized, and payment
dates postponed. Of course mediating between this and the aspirations of the bondholders, which is
complete payment of the debt, has been very difficult, there are limitations that they have never been
willing to accept.”

“Is that why the lawsuit was the only way out?”

“In October of 2019, PDVSA decided to negotiate directly with the bondholders, instead of with
their representatives or attorneys, because our intention was to resolve the problem. So, we told
them that there are a few days left for the second payment of interest and neither PDVSA nor Citgo
have the 900 million dollars that should be paid on the 27th of this month, so we asked them for a
term of three months to look for a solution, and at this time there were two or three more discussions
and it became clear that the creditors would not accept an alternative other than amortization on
the day that was established. Here we must remember that any offering PDVSA puts on the table
should be approved by the National Assembly, and since the unjustified political scandal that
originated due to the cancellation of interest in April, it was logical to presume that authorizing a
payment of 400, 500 or 900 million dollars would be an uphill battle, on top of the fact that we did
not have it.”

“At that time, did you ask the United States government to suspend General License 5?”

“Of course. When this occurred, we notified the United States government that it would be
impossible to reach an agreement with the bondholders, and asked them to suspend General
License 5 so that creditors could not take control of Citgo. The Americans accepted our request and
made us commit to introducing the lawsuit for nullity against the bondholders. Around the same
time, October 15, Parliament resumed the matter, ratified the nullity of the operation, and reiterated
to use the order to defend Venezuela’s assets abroad. For this reason, I had two meetings with the ad
hoc Board and the directors unanimously decided to enter litigation.”




https://us.embajadavenezuela.org/noticias/luis-pacheco-si-no-hubiesemos-demandado-los-bonistas-habrian-hecho-
una-fiesta-y-tomado-citgo/ [04/15/2021 7:11:58 p.m.]
Case 1:20-mc-00257-LPS Document 38-4 Filed 04/16/21 Page 5 of 8 PageID #: 1571
Luis Pacheco: “If we had not sued, the bondholders would have had a party and taken Citgo” – Embassy of
Venezuela in the USA

“If the Board voted unanimously, why did economist Alejandro Grisanti afterwards write a
letter to interim president Juan Guaidó to express his disagreement with the decision to go to
trial?”

“You have to ask him. The decisions of the PDVSA ad hoc Board are made by a majority, and all of
the ones executed in 2019 were unanimously backed by the directors.”

“For you, did the resolution of the National Assembly on September 27, 2016, categorically
deny the legality of the PDVSA 2020 bond?”

“I’m not an attorney and neither am I here to judge the National Assembly, because PDVSA does not
have the power to state what the Legislative Power should or should not do. I will take this chance
to tell you that when some spokespersons state that PDVSA had never before had to go to
Parliament to ask for permission, the response to that is that PDVSA never before took on debt that
gave an asset of the nation as collateral. This is the only time in the entire history of our state-run
oil company when such a thing has occurred.”

“In a recent interview, economist Francisco Rodriguez indicated to us that it is not certain that
the only option in October 2019 was to sue; and he mentions an offer of a loan that, according
to Reuters agency, was made by the T. Rowe Price fund, for 913 million dollars, and he also
detailed certain financial statements of Citgo, which in his judgment allowed covering the
obligation to bondholders.”

“I can tell you with all certainty that the PDVSA ad hoc Board has not received any formal offer of
financing from anyone. On the other hand, what Mr. Rodriguez says of Citgo is an uninformed
opinion, because the financial reality of that company is totally different from what he said, and we
reported this to the nation on August 5 th in our rendering of accounts to the National Assembly. But
I say that it is an uninformed opinion because it’s one thing for the company to have money in its
financial statements, and another for it to be able to use that for purposes other than those originally
established. Citgo is over-indebted and its financial structure does not allow it to take on more
debt. The people who represent the bondholders should not speak of solutions without taking into
account their feasibility.”

“Why is Citgo over-indebted?”

“Because the Maduro regime began to withdraw funds form it, since the financial problems of the
Republic began, that is, from 2015 and on. In fact, the 2020 bond is part of this structure of
extraction of wealth from PDVSA and Citgo. These debts exist, and impaired the company’s
capacity to raise more funding to pay bondholders. Using Citgo to pay for PDVSA 2020 meant two
things: One, practically declaring a default on all of the commitments of the company itself; and two,
repeating the poor practices that we had been criticizing, of taking on bad debt to pay for another bad
debt.”

“Is an agreement with bondholders still viable?”



https://us.embajadavenezuela.org/noticias/luis-pacheco-si-no-hubiesemos-demandado-los-bonistas-habrian-hecho-
una-fiesta-y-tomado-citgo/ [04/15/2021 7:11:58 p.m.]
Case 1:20-mc-00257-LPS Document 38-4 Filed 04/16/21 Page 6 of 8 PageID #: 1572
Luis Pacheco: “If we had not sued, the bondholders would have had a party and taken Citgo” – Embassy of
Venezuela in the USA

“Always. Agreements are always viable as long as we take into account the factors that limit or
condition us: Resolutions of the National Assembly, the price of the market debt, and the
humanitarian crisis of Venezuela.”

“Are we better or worse today than on October 27, 2019, when the lawsuit was filed?”

“If we had not sued on October 27, 2019, the bondholders would have had a party and taken control
of Citgo. The strategy executed allowed breathing life into two things: One, a more fair and
equitable negotiation; and two, that the political change which until now has not been achievable,
can be materialized. Then, given the question as to whether we are better or worse off, I answer you
that we still have Citgo, and that’s better than to have lost it.”

“If you guarantee that there has been more conversation before and during the lawsuit, and
even say that an agreement between bondholders is still viable, then why are there
spokespersons insisting that you have not negotiated?”

“For the same reason there are people still of the opinion that the earth is flat. They’re
misinformed.”

“You have said a lot about the reach of the bondholders’ lobby, have you received any pressure
to carry out a given decision in the case of the PDVSA 2020?”

“The PDVSA Board has never gotten pressure to pay or not pay, what we have done is follow the
decisions that the National Assembly has made. But the matter of the lobby is not a minor one, the
creditors have a lot of muscle to lobby in the United States, and on our side we have a country
whose political and social situation makes it hard to make decisions. This makes it so negotiation is
very complex. Due to pure short-term political calculations, we forget that we are trying to address
the afterpains that the governments of Hugo Chávez and Nicolás Maduro left us; sometimes the
leadership itself does not let us work due to little things that go nowhere.”

“How tied up was the strategy of defense of assets abroad, to the so-called ‘cease the
usurpation’?”

“The decisions were made in a context where it was thought that a political change would come
shortly. One of the premises on my mind was that with the ‘cease the usurpation’ we would have a
much stronger position when negotiating any of the debts.”

“What would happen after January 5, 2021, with the judgments?”

“Until the interim government is recognized by the Executive Branch of the United States, we will
maintain control of the judgments.”

“What is the mood like on the PDVSA ad hoc Board right now?”




https://us.embajadavenezuela.org/noticias/luis-pacheco-si-no-hubiesemos-demandado-los-bonistas-habrian-hecho-
una-fiesta-y-tomado-citgo/ [04/15/2021 7:11:58 p.m.]
Case 1:20-mc-00257-LPS Document 38-4 Filed 04/16/21 Page 7 of 8 PageID #: 1573
Luis Pacheco: “If we had not sued, the bondholders would have had a party and taken Citgo” – Embassy of
Venezuela in the USA

“The PDVSA ad hoc Board is composed of people who have decided to contribute their time and
knowledge for nothing in exchange, except the satisfaction of contributing to the rebuilding of the
country, and many of them, after a while, have asked themselves if this sacrifice is worth it given
how few political discussions are still being held without the main objective being resolved, which
is to return democracy to Venezuela. Different prices have had to be paid: family, economic,
persecution and libel. The worst is that many times the attacks we get come from friendly fire; and
this, though I hope history will address it, is very frustrating.”

Embassy of Venezuela in the USA

TAGS: 2020 bonds, CITGO, Luis Pacheco, PDVSA, Venezuela



 DISPATCH OF THE                      EMBASSY OF BOLIVARIAN                           Bolivarian Republic of
 PRESIDENCY                           REPUBLIC OF VENEZUELA                                      Venezuela
 Bolivarian Republic of                                                            NATIONAL ASSEMBLY
                                     UNITED STATES OF AMERICA
 Venezuela




https://us.embajadavenezuela.org/noticias/luis-pacheco-si-no-hubiesemos-demandado-los-bonistas-habrian-hecho-
una-fiesta-y-tomado-citgo/ [04/15/2021 7:11:58 p.m.]
Case 1:20-mc-00257-LPS Document 38-4 Filed 04/16/21 Page 8 of 8 PageID #: 1574


                                                               D 718.384.8040

K;:;J TARGEM                                                   m TargemTranslations.com
C       TRANSLATIONS
                                                               B projects@targemtranslations.com
                                                               D 185 Clymer St. Brooklyn, NY 11211



                                      CERTIFIED TRANSLATION


 I, Wolf Markowitz, Manager at Targem Translations, Inc., located at 185 Clymer Street in
 Brooklyn, New York, a language service with a firm track record of providing expert language
 services to the business and legal community of more than 50 years, do hereby certify that our
 team of translators, editors and proofreaders are professionally trained and vastly experienced in
 providing professional translations, from Spanish to English and vice versa; and they                    have
 professionally   translated    the        document   referenced   as      "Luis Pacheco Article dated
 November 17" from Spanish            to     English, faithfully, accurately and        completely,     to the
 best of    their expertise and experience.




 Date: April 16, 2021




      Wolf Markowitz
                                                                    Stgnatme ofNotarv Public
                                                                                 ROCI-IAL WEISS
                                                                        NOTARY PUBLIC-STATE OF NEW YORK
                                                                                No 0 1 WE6293785
                                                                             Ouali1ied 1n Kings County
                                                                         My Comm·1ss·1on Expires 12-16-2021
